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                                       COURTROOM MINUTES
                                   SENTENCING / JUDICIAL REVIEW

        5/26/2022                  Thursday                             10:08 am                          10:53 am
DATE: ____________        DAY: ______________        START TIME: ______________         END TIME: ______________
                 J. Peterson                                  VOU                                        PH
JUDGE/MAG.: ___________________              CLERK: _____________________      REPORTER: ____________________
                               R. Williams
PROBATION OFFICER: _________________ INTERPRETER: _________________ SWORN: YES
             21-cr-98-jdp
CASE NUMBER: _______________________                   Anthony Brooks
                                     CASE NAME: USA v. _____________________________________


APPEARANCES:
AUSA: David Reinhard
      ____________________________________             DEFENDANT ATTY.: Alex Vlisides
                                                                        ________________________________
       ____________________________________                                    ________________________________
                                                       DEFENDANT PRESENT: YES


SENTENCING GUIDELINE RANGE:
                                15
       TOTAL OFFENSE LEVEL: __________                                              V
                                                     CRIMINAL HISTORY CATEGORY: __________
                                                  37            46
       ADVISORY GUIDELINE IMPRISONMENT RANGE: __________ to __________ MONTHS.


SENTENCE:
                    1
COUNT(S) _______________:           INDICTMENT           INFORMATION
            1             42           3                 100 CA; $ ___________ REST.; $ __________ FINE.
CBOP CT. _______;       ______ MOS.; ______ YRS. S/R; $ ______
       CT. _______;     ______ MOS.; ______ YRS. S/R; $ ______ CA; $ ___________ REST.; $ __________ FINE.
       VOLUNTARY SURRENDER: _______________ between __________ and __________;
       RELEASE CONDITIONS CONTINUED.
       DETAINED.


ACTIONS:
       PLEA AGREEMENT ACCEPTED
       DEFENDANT ADVISED OF RIGHT TO ALLOCUTE (OPPORTUNITY TO SPEAK)
       DEFENDANT ADVISED OF RIGHT TO APPEAL
       GOVERNMENT MOTION TO DISMISS REMAINING COUNTS GRANTED
       REVOKED


NOTES:
 Defendant sworn. Guilty plea entered. Plea accepted as knowing and voluntary. Defendant adjudged guilty by the court.
_________________________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________
                                                                                                        0.45
                                                                                   TOTAL COURT TIME: __________
